                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

IN RE:                                       §
                                             §       CASE NO. 20-10032
XS RANCH FUND VI, L.P.                       §
                                             §
DEBTOR.                                      §       CHAPTER 11


   DEBTOR’S APPLICATION TO EMPLOY AND RETAIN THE DORÉ GROUP AS
             VALUATION EXPERT TO DEBTOR PURSUANT TO
               SECTION 327(a) OF THE BANKRUPTCY CODE

     THIS APPLICATION MAY BE GRANTED BY THE COURT WITHOUT
HEARING. A PARTY IN INTEREST WHO OPPOSES AN APPLICATION FOR
EMPLOYMENT MAY FILE AN OBJECTION WITHIN 21 DAYS AFTER THE DATE OF
SERVICE OF THE APPLICATION SUMMARY, AND SUCH OBJECTION SHALL BE
SET FOR HEARING NOTWITHSTANDING THE COURT'S ORDER GRANTING THE
APPLICATION TO EMPLOY LOCAL RULE 2014(D).

     THE DEBTOR HAS REQUESTED EMERGENCY CONSIDERATION OF THIS
MOTION AND HAS REQUESTED THAT A "FIRST DAY" HEARING BE HELD ON
THIS MOTION AT THE COURT'S EARLIEST CONVENIENCE. IF THE COURT IN
FACT SETS THIS MOTION FOR AN EMERGENCY "FIRST DAY" HEARING, THEN
ONLY ATTENDANCE AT THE HEARING IS NECESSARY TO PRESERVE YOUR
RIGHTS.

       XS Ranch Fund VI, L.P. (“XSR” or the “Debtor”), debtor-in-possession in the above-

referenced chapter 11 case (the “Case”), files this Debtor’s Application to Employ and Retain The

Doré Group as Valuation Expert to the Debtor Pursuant to Section 327(a) of the Bankruptcy Code

(the “Application”). In support of its Application, the Debtor relies upon the Declaration of Lance

W. Doré in Support of the Debtor’s Application to Employ and Retain The Doré Group as

Valuation Expert to the Debtor Pursuant to Section 327(a) of the Bankruptcy Code (the “Doré

Declaration”), which is attached hereto as Exhibit A. In further support of the Application, the

Debtor respectfully states as follows:
                                     Jurisdiction and Venue

       1.      The United States District Court for the Western District of Texas (the “District

Court”) has jurisdiction over the subject matter of this Motion pursuant to 28 U.S.C. § 1334. The

District Court’s jurisdiction has been referred to the United States Bankruptcy Court for the

Western District of Texas (the “Court”) pursuant to 28 U.S.C. § 157 and the District Court’s Order

of Reference of Bankruptcy Cases and Proceedings dated October 4, 2013. This is a core matter

pursuant to 28 U.S.C. §157(b), which may be heard and finally determined by the Court. Venue is

proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       2.      The statutory predicates for the relief sought herein are section 327(a) of title 11 of

the United States Code (the “Bankruptcy Code”), Rule 2014(a) of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Rule 2014 of the Local Court Rules of the United States

Bankruptcy Court for the Western District of Texas (the “Local Rules”).

                                           Background

       3.      On January 6, 2020 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code commencing the above captioned Case. The Debtor

continues to manage and operate its business as a debtor-in-possession pursuant to Bankruptcy

Code §§ 1107 and 1108.

       4.      An official committee of unsecured creditors has yet to be appointed in this Chapter

11 Case. Further, no trustee or examiner has been requested or appointed in this Chapter 11 Case.

                                         Relief Requested

       5.      By this Application, the Debtor requests entry of an order, substantially in the form

filed contemporaneously with this Application, authorizing the employment and retention of The

Doré Group (“Doré”) as its Valuation Expert in accordance with the terms and conditions set forth
in the engagement letter between the Debtor and Doré dated as of January 3, 2020 (the

“Engagement Letter”), attached hereto as Exhibit B, effective nunc pro tunc to the Petition Date.

       6.      Pursuant to Local Rule 2014(c), the Application has been filed within thirty (30)

days of the Petition Date and is deemed contemporaneous. Accordingly, Doré’s retention should

be granted nunc pro tunc to the Petition Date

                                   Basis for Requested Relief

       7.      In consideration of the size and complexity of its business, as well as the exigencies

of the circumstances, the Debtor has determined that the services of an experienced valuation

expert will substantially enhance its attempt to maximize the value of its estate. Doré has a wealth

of experience in providing services as a valuation expert and enjoys an excellent reputation for

services they have rendered in large and complex chapter 11 cases on behalf of debtors and

creditors throughout the United States and is thus is well qualified to provide these services.

       8.      Doré’s practice consists of real estate valuation and forensic consulting services

specializing in complex development and land valuation, highest and best use analysis, sensitivity

analysis, transaction advisory, and litigation support which provides a focus on viable solutions

that maximize value for government agencies, companies and creditors. Doré has acted as financial

advisor, crisis manager, and corporate officer in middle market to large multinational

restructurings across a wide array of industries. Doré’s services include forensic analysis, plan

development and implementation, and advice on sale/ merger transactions.

       9.      Moreover, the professionals at Doré have assisted and advised debtors, creditors,

creditors’ committees, bondholders, investors and others in numerous bankruptcy cases, including

the bankruptcy cases of Bank of America Corporation N.A v. American Forest Holdings | Case

No. 12-104-Y00683-10 and GGP v. Howard Hughes Estates Case No. 09- 11977.
        10.     Doré is well qualified and uniquely suited to deal effectively and efficiently with

the valuation of the Debtor’s assets and other related matters that may arise in the context of this

case. Accordingly, the Debtor submits that the retention of Doré on the terms and conditions set

forth herein is necessary and appropriate, is in the best interests of the Debtor’s estate, creditors,

and all other parties in interest, and should be granted in all respects.

                                          Scope of Services

        11.     The Engagement Agreement contains the terms which shall govern the Debtor’s

retention of Doré except as explicitly set forth herein or in any order granting this Application.

        12.     Doré will provide such valuation services as the Debtor shall deem appropriate and

feasible in order to advise the Debtor in the course of this Chapter 11 Case, which can include, but

are not limited to:


                                Disinterestedness of Professionals

        13.     To the best of the Debtor’s knowledge, information, and belief, other than as set

forth in the Doré Declaration, Doré (i) has no connection with the Debtor, its creditors, other parties

in interest, or the attorneys or accountants of any of the foregoing, or the United States Trustee or

any person employed in the Office of the United States Trustee; (ii) does not hold any interest

adverse to the Debtor’s estate; and (iii) believes it is a “disinterested person” as defined by section

101(14) of the Bankruptcy Code. Doré has not provided, and will not provide, any professional

services to any creditors, parties in interest, or their respective attorney and accountants with regard

to any matter related to this Case.

        14.     Accordingly, the Debtor believes that Doré is “disinterested” as such term is

defined in section 101(14) of the Bankruptcy Code.
          15.    In addition, as set forth in the Doré Declaration, if any new material facts or

relationships are discovered or arise, Doré will provide the Court with a supplemental declaration.

                                     Professional Compensation

          16.    Subject to approval by the Court, the Debtor proposes to employ and retain Doré to

serve as the Debtor’s Valuation Expert on the terms and conditions set forth in the Engagement

Letter.

          17.    In accordance with the terms of the Engagement Letter, Doré will be paid by the

Debtor for the services of the Doré’s Professionals at their customary hourly billing rates as set

forth in the Engagement Letter. The professional fees shall be calculated by multiplying the hours

worked by the standard hourly billing rates in effect for the specific personnel involved. The hourly

rates charged by Doré for the services provided by its personnel differ based upon, among other

things, each professional’s level of experience, geographical differences, and types of services

being provided. For professional services, fees are based on Doré’s standard hourly rates which

are in effect when services are performed. These standard hourly rates are at or below those of

similar firms.

          18.    In addition, consistent with Doré’s policy with respect to its other clients, Doré will

be reimbursed for all other services provided and for other charges and disbursements incurred in

rendering services to the Debtor. These the reasonable out-of-pocket expenses may include data

sets, reports, research, outside copy services, travel, lodging, meals, any applicable sales or excise

taxes and other direct expenses established according to their original engagement agreement.

          19.    Doré will also request compensation, at its standard hourly rates for any time and

expenses (including, without limitation, reasonable legal fees and expense, except in the case of

legal fees pertaining to any fee defense) that may be incurred in considering or responding to

discovery requests or other request for documents or information, or in participating as a witness
or otherwise in any legal, regulatory, or other proceedings, including, without limitation, those

other than the instant matter, as a result of Doré’s performance of these services.

        20.    No promises have been received by Doré, nor any employee or independent

contractor thereof as to payment or compensation in connection with this case other than in

accordance with the provisions of the Bankruptcy Code. Except for internal agreements among the

employees and independent contractors of Doré regarding the sharing of revenue or compensation,

neither Doré, nor any of its employees or independent contractors has entered into an agreement

or understanding to share compensation with any other entity as described in Bankruptcy Rule

2016.

        21.    The Debtor understands that Doré intends to apply to the Court for allowance of

compensation and reimbursement of reasonable expenses for its restructuring advisory services in

accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules,

corresponding Local Rules, orders of this Court, and the 1996 guidelines established by the Office

of the United States Trustee (the “U.S. Trustee”).

        22.    Doré received $10,000 as a retainer in connection with preparing for and

conducting the filing of this Chapter 11 case.

        23.    Given the numerous issues that Doré may be required to address in the performance

of its services, Doré’s commitment to the variable level of time and effort necessary to address all

such issues as they arise, and the market prices for such services for engagements of this nature in

an out-of-court context, as well as in chapter 11, the Debtor submits that the fee arrangements set

forth herein are reasonable under the standards set forth in the Bankruptcy Code.

                                            Summary

        24.    The Debtor submits that the retention of Doré under the terms described herein is

appropriate under sections 327(a), and 1107(b) of the Bankruptcy Code. The Debtor submits that
the terms and conditions of Doré’s retention as described herein, including the proposed

compensation terms, are reasonable and in keeping with the terms and conditions typical for

engagements of this size and character. Since the Debtor will require substantial assistance with

the reorganization process, it is reasonable for the Debtor to seek to employ and retain Doré to

serve as its Valuation Experton the terms and conditions set forth herein.

                                                   Notice

        25.     Notice of this Motion has been provided to: (i) the Office of the United States

Trustee; (ii) the Debtor and its counsel; (iii) the Debtor’s secured creditors; (iv) any party whose

interests are directly affected by this specific pleading; (v) those persons who have formally

appeared and requested notice and service in these proceedings pursuant to Bankruptcy Rules 2002

and 3017; (vi) counsel for and the members of any official committees appointed by this Court;

(vii) the 20 largest unsecured creditors of the Debtor; and (viii) all governmental agencies having

a regulatory or statutory interest in this case.


        WHEREFORE, for the reasons set forth herein and the Doré Declaration, the Debtor

respectfully requests entry of the Order granting the relief requested herein and such other relief

as may be deemed appropriate.

        Respectfully submitted on January 6, 2020.


                                         /s/ Eric Terry
                                         Eric Terry (TX Bar No. 00794729)
                                         ERIC TERRY LAW, PLLC
                                         3511 Broadway Street
                                         San Antonio, Texas 78029
                                         Telephone: (210) 468-8274
                                         Facsimile: (210) 319-5447
                                         Proposed Counsel to the Debtor and Debtor in Possession
                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document was
served via the Court’s ECF System and/or via U.S. First Class Mail, postage paid, on January 6th,
2020, to the parties on the attached creditor matrix and to all parties that have requested ECF
notifications in this matter.

                                            __/s/ Eric Terry________
                                            Eric Terry
Label Matrix for local noticing         XS Ranch Fund VI, L.P.                    U.S. BANKRUPTCY COURT
0542-1                                  818 Sayers Road                           903 SAN JACINTO, SUITE 322
Case 20-10032-tmd                       Bastrop, TX 78602-3652                    AUSTIN, TX 78701-2450
Western District of Texas
Austin
Mon Jan 6 16:00:37 CST 2020
Aqua Water Service Company              Aventine Development Services             Bastrop County Tax Assessor/Collector
PO Drawer P                             Attn: Chad Hagle                          PO Box 579
Bastrop, TX 78602-1989                  19360 Rinaldi St., Ste. 730               Bastrop, TX 78602-0579
                                        Porter Ranch, CA 91326-1607


Bastrop County Tax Assessor/Collector   Bluebonnet Electric Cooperative           City of Bastrop
c/o Lee Gordon                          690 Texas Hwy 71 W, Bldg. 1               Attn: City Manager
PO Box 1269                             Bastrop, TX 78602-3663                    904 Main St.
Round Rock, TX 78680-1269                                                         PO Box 427
                                                                                  Bastrop, TX 78602-0427

Clayton Williams Ranch Co.              Coast Range Investments, LLC              Coy Sunderman
Attn: Jeff Williams                     Attn: James Foster                        139 Colovista Dr.
PO Box 1668                             818 Sayers Rd.                            Bastrop, TX 78602-7400
Fort Stockton, TX 79735-1668            Bastrop, TX 78602-3652


Crestline Direct Finance, L.P.          DF Capital Management                     Federal Emergemecy Management Agency
c/o Crestline Investors, Inc.           Attn: Rob Riva                            FRC 800 North Loop 288
Attn: James Cochran                     14701 Phillips Hwy., Ste 300              Denton, TX 76209-3698
201 Main St., Ste. 1900                 Jacksonville, FL 32256-3742
Fort Worth, TX 76102-3135

Force Ten Partners, LLC                 FoxTrot LLC                               Internal Revenue Service
Attn: Michael VenderLey                 c/o Tullius Law Group                     Centralized Insolvency Operations
20342 SW Birch, Ste. 220                515 S. Flower St., 18th Fl.               P.O. Box 7346
Newport Beach, CA 92660                 Los Angeles, CA 90071-2201                Philadelphia, PA 19101-7346


Jackson Walker LLP                      John Landwehr                             Kelly Thevenot
Attn: James Alsup                       219 Main St.                              326 McDonald Rd.
100 Congress Ave., Ste. 1100            Smithville, TX 78957-1839                 Cedar Creek, TX 78612-4001
Austin, TX 78701-4042


LIA Engineering, Inc.                   Lower Colorado River Authority            Melting Point Solutions
7500 Rialto Rd., Bldg. 2                Attn: Executive Manager, Water Services   c/o Keller & Benvenutti
Ste. 100                                PO Box 200                                Attn: Tobias Keller
Austin, TX 78735-8531                   Austin, TX 78767                          650 California Ave., #1900
                                                                                  San Francisco, CA 94108-2736

PV Development Management               Pine Associates, LLC                      RMD & Co., Inc.
Attn: Mark Kehke & Jason Perrin         4455E. Camelback Rd., Ste. C-140          408 Baylor St.
4343 Von Karman Ave., 3rd Fl.           Phoenix, AZ 85018-2821                    Austin, TX 78703-5312
Newport Beach, CA 92660-2099


Ranch Wireless Internet                 Rimon P.C.                                Ron Freeman Esq.
3547 N Hwy 123 Bypass                   Attn: Ben Douglas                         Law Offices of Ronald J. Freeman
Seguin, TX 78155-7328                   One Embercadero Ctr., Ste. 400            102 N. Railroad Ave.
                                        San Francisco, CA 94111-3619              Pflugerville, TX 78660-2767
Squar Milner                              Steiner & Sons                             Texas Assocaites/AFCO
Attn: Katherine Gough                     c/o Waller Lansden Dortch & Davis, LLP     5600 N. River Rd., Ste, 400
1150 Santa Monica Blvd., Ste. 600         Attn: Eric Taube                           Des Plaines, IL 60018-5187
Los Angeles, CA 90025                     100 Congress Ave., Ste. 1800
                                          Austin, TX 78701-4042

Texas Associates/AFCO                     Texas Commission on Enviromental Quality   Texas Comptroller of Public Accounts
1120 Capital of Texas Hwy. S              MC 172                                     Revenue Accounting Div- BK Section
Bldg 3                                    PO Box 13087                               P.O. Box 12548, MC-008
Austin, TX 78746-6464                     Austin, TX 78711-3087                      Austin, TX 78711-2548


Texas Department of Transportation        Texas Railroad Commission                  Tony Gonzalez
Attn: Project Delivery Team               Enforcement Division                       1344 Sayers Rd.
7901 N. IH 35                             Office of General Counsel                  Bastrop, TX 78602-3638
Austin, TX 78753-6602                     P.O. Box 12967
                                          Austin, TX 78711-2967

US Department of the Army                 United States Trustee - AU12               Winthrop Couchot Golubow Hollander
Fort Worth District, Corps of Engineers   United States Trustee                      Attn: Garrick Hollander
Attn: Chief Regulatory Branch             903 San Jacinto Blvd, Suite 230            1301 Dove St., Ste. 500
PO Box 17300                              Austin, TX 78701-2450                      Newport Beach, CA 92660-2467
Fort Worth, TX 76102-0300

XS Ranch Municipal Utility District       Eric Terry                                 End of Label Matrix
c/o Ron Freeman                           Eric Terry Law, PLLC                       Mailable recipients      43
102 N. Railroad Ave.                      3511 Broadway                              Bypassed recipients       0
Pflugerville, TX 78660-2767               San Antonio, TX 78209-6513                 Total                    43
